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           EXHIBIT2
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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION




MARY BETH MONTERA, individually and
on behalf of all others similarly situated,


                                    Plaintiff,        Case No. 3:16-cv-06980-RS
v.


PREMIER NUTRITION CORPORATION
f/k/a JOINT JUICE, INC.,

                                  Defendant.




                                Supplement to Expert Report


                                                 of



                                     COLIN B. WEIR



                                        May 19, 2022



      REFERENCES MATERIALS DESIGNATED "CONFIDENTIAL" OR "HIGHLY

     CONFIDENTIAL -- ATTORNEYS' EYES ONLY" UNDER PROTECTIVE ORDER
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Supplemental Expert Report of Colin B. Weir
May 19, 2022
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         1.    I supplement my Expert Report previously submitted on January 24, 2022 to include

newly provided data from Rite Aid Corporation ("Rite Aid"). The January 24, 2022 Report,

which is incorporated by reference and attached hereto as Exhibit 1, is supplemented as follows.

         2.    Using the same methodologies utilized in connection with my January 24, 2022

Expert Report, I update that report to include the Rite Aid retail sales data (filename "Joint Juice

Monthly NY.xlsx") and the Declaration of Jennifer L. Graham dated May 17, 2022 (which I

understand was produced to Counsel for Plaintiff on May 18, 2022). This retail sales data covers

sales of the Joint Juice Products from Rite Aid in New York that took place from August 8, 2019

to December 28, 2021. I am informed that this retail sales data was produced by Rite Aid after

my January 24, 2022 Expert Report was served. Because the data had not been made available,

my previous Expert Report did not account for sales of the Joint Juice Products at Rite Aid stores

in New York on or after August 8, 2019.

         3.    Taking into account the recently produced Rite Aid retail sales data for sales to the

Class, I update the following prior calculations as follows: 1



                                                      Table 1.

                           Class Refunds Based on the Data Provided to Date
                                                                           Number of
                  Average Price Per               Number of                                       Class Refund
      State                                                               Households
                           Unit                       Units                                         Amounts
                                                                          Purchasing

    New York                         $8.95                166,249                   38,187           $1,488,078.49




1
  As before, the data produced by Defendant reflects that the retailers I have used to calculate the amounts herein --
Costco, Rite Aid, Sam's Club, and Walmart only -- account for approximately 91% (or less) of sales to the Class
(and before accounting for online sales). I have conservatively based my calculations on those four retailers' sales
data, and have not grossed up the figures.


                                                                                             ECONOMICS AND
                                                                                           TECHNOLOGY , INC.
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                                              Table 2.

                 New York Statutory Damages Based on Data Provided to Date
                                                     Damages per              Total Statutory
       Statute             Number of Units
                                                      Violation                  Damages
 GBL § 349                            166,249                      $50                 $8,312,450

 GBL § 350                            166,249                     $500                $83,124,500

 GBL §§ 349 & 350                     166,249               $50 + $500                $91,436,950



                                              Table 3.

                     Prejudgment Interest Based on Data Provided to Date
                        Prejudgment          Prejudgment Interest         Prejudgment Interest
      State           Interest on Class     on GBL § 349 Statutory       on GBL § 350 Statutory
                          Refunds                 Damages                      Damages
 New York                    $804,804.97                 $4,416,983.25             $44,169,832.49



       4.     Based upon the data provided to date, prejudgment interest accrues at a rate of

$366.92 for New York Class refunds, $2,049.65 per day for New York GBL § 349 statutory

damages, and $20,496.45 per day for New York GBL § 350 statutory damages.

       5.     My opinions are based upon the information and data presently available to me. I

reserve the right to amend or modify my opinions if additional, different or updated information

becomes available. The materials I considered in forming the opinions in this supplement are

noted herein and in Exhibit 1.



This report was executed at Boston, Massachusetts, this 19th day of May, 2022.



                                                   ________________________________

                                                                  Colin B. Weir

                                                                              ECONOMICS AND
                                                                             TECHNOLOGY , INC.
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                         Exhibit 1

          January 24, 2022 Expert Report
                        of

                     COLIN B. WEIR
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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION




ERIC FISHON, individually and on behalf
of all others similarly situated,


                                  Plaintiff,        Case No. 3:16-cv-06980-RS
v.


PREMIER NUTRITION CORPORATION
f/k/a JOINT JUICE, INC.,

                                Defendant.




                                      Expert Report



                                               of



                                   COLIN B. WEIR


                                    January 24, 2022



      REFERENCES MATERIALS DESIGNATED "CONFIDENTIAL" OR "HIGHLY

     CONFIDENTIAL -- ATTORNEYS' EYES ONLY" UNDER PROTECTIVE ORDER
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I, Colin B. Weir, declare as follows:



        I am Vice President at Economics and Technology, Inc. ("ETI"), One Washington Mall,

7th Floor, Boston, Massachusetts 02108. ETI is a research and consulting firm specializing in
economics, statistics, regulation and public policy.



                    I. QUALIFICATIONS, BACKGROUND, AND EXPERIENCE

        1.   I hold a Masters of Business Administration, with honors, from the High Technology

program at Northeastern University, Boston, Massachusetts. I hold a Bachelor of Arts degree

cum laude in Business Economics from The College of Wooster, Wooster, Ohio. I have

provided expert testimony before federal and state courts, the Federal Communications

Commission, and state regulatory commissions, and have contributed research and analysis to

numerous ETI publications and expert testimony at the state, federal, and international levels. I

have consulted on a variety of consumer and wholesale products cases, calculating damages

relating to food products, household appliances, herbal remedies, health/beauty care products,

electronics, furniture, and computers. My Statement of Qualifications, which outlines my

professional experience, publications, and record of expert testimony, is attached hereto as

Exhibit 1. This includes a list of all cases in which, during the previous four years, I have

testified as an expert at trial or by deposition.


                                        II. ENGAGEMENT

        2.   I provide this expert report in connection with the case filed by Eric Fishon,

("Plaintiff") in the above-captioned action against Premier Nutrition Corporation. ("Defendant").

I make this report based upon my own personal knowledge and, if called as a witness in this

action, I would be able to competently testify as to the facts and opinions set forth herein.
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Expert Report of Colin B. Weir
January 24, 2022
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           3.    I have been advised by Counsel for Plaintiff that individuals purchased certain Joint

Juice products manufactured by Defendant that were labeled with various joint health benefit

claims that were untrue (hereinafter the "Products"). I have been asked by Counsel for Plaintiff

to provide a calculation of refund amounts, New York statutory damage amounts, and

prejudgment interest.

           4.    I am aware that the Court granted certification of the following Class: all consumers

who purchased Joint Juice in New York from December 5, 2013 to December 28, 2021,

inclusive of those dates.

           5.    ETI is being compensated at the rate of $775 per hour for my work on this case. The

opinions expressed in this declaration are my own, and my compensation is not dependent upon

the substance of these opinions or the outcome of the litigation.

           6.    The documents, data and other materials that I relied upon in forming my opinions

are identified throughout my report and in Exhibit 2, attached hereto. In addition, I have relied

upon my educational background and more than 18 years of experience.



                             III. CLASS REFUND CALCULATIONS

           7.    I have been provided retail sales data provided by Costco, Rite Aid, Sam's Club, and

Walmart. These data show the retail sales of the challenged Products in New York. I have also

been provided with numerous additional sources of sales data produced by Defendant. 1 The data

produced by Defendant reflects that the retailers I have used to calculate the amounts herein --

Costco, Rite Aid, Sam's Club, and Walmart only -- account for approximately 91% (or less) of

sales to the Class (and before accounting for online sales). 2 I have conservatively based my

calculations on those four retailers' sales data, and have not grossed up the figures.
1
    See, Exhibit 2.
2
 Neilsen Data, Costco Data, Amazon Data. (Rite Aid, Sam's Club, and Walmart account for approximately 71% of
sales during the period for which Amazon Data is available [Costco had stopped selling the Product during this
period]).

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January 24, 2022
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       8.   I have analyzed these data productions to calculate retails sales to the Class. In so

doing, I have omitted data about products, date ranges, and geographic regions falling outside of

the Class. A summary of the applicable data provided to date is presented below in Table 1.



                                              Table 1.

                      Class Refunds Based on the Data Provided to Date
                                                               Number of
               Average Price Per          Number of                               Class Refund
   State                                                      Households
                     Unit                   Units                                   Amounts
                                                               Purchasing

 New York                      $9.05             160,298              36,820         $1,450,709.72



                       IV. NEW YORK STATUTORY DAMAGES

       9.   I have been advised by Counsel for Plaintiff that New York Class members may be

entitled to statutory damages. I have been advised that New York GBL § 349 provides for

statutory damages of $50 per violation. I have been advised that New York GBL § 350 provides

for statutory damages of $500 per violation. Based on the retail sales data provided to date, more

than 160,298 units of the Products were sold in New York to the New York Class. Therefore,

the total amount of statutory damages based on data provided to date are as set forth below in

Table 2.




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                                                       Table 2.

                   New York Statutory Damages Based on Data Provided to Date
                                                               Damages per                   Total Statutory
         Statute               Number of Units
                                                                Violation                       Damages
    GBL § 349                                 160,298                            $50                     $8,014,900

    GBL § 350                                 160,298                          $500                    $80,149,000

    GBL §§ 349 & 350                          160,298                  $50 + $500                      $88,163,900



                                    V. PREJUDGMENT INTEREST

         10. I was also asked to calculate prejudgment interest. I was asked to calculate

prejudgment interest based on 9.0% simple interest for the New York Class purchases. Interest

was calculated through May 23, 2022, the date of trial. The beginning date on which I began to

accrue interest was the transaction date, where available, and where the sales data was

aggregated over a period longer than a day, I conservatively based the interest on the last day of

the reported period. 3

         11. The prejudgment interest amounts based on the data provided to date are as set forth

below in Table 3.



                                                       Table 3.

                        Prejudgment Interest Based on Data Provided to Date
                           Prejudgment               Prejudgment Interest               Prejudgment Interest
        State            Interest on Class          on GBL § 349 Statutory             on GBL § 350 Statutory
                             Refunds                      Damages                            Damages
    New York                       $799,405.71                      $4,377,747.99                    $43,777,479.91



3
 For example, as reflected in the retailer sales data listed in Exhibit 2, some retailers provided data on a weekly
basis (e.g., Walmart and Sam's Club) and others on a monthly basis (e.g., Costco).


                                                                                              ECONOMICS AND
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       12. Based upon the data provided to date, prejudgment interest accrues at a rate of

$357.71 for New York Class refunds, $1,976.28 per day for New York GBL § 349 statutory

damages, and $19,762.77 per day for New York GBL § 350 statutory damages.



                            VI. RESERVATION OF RIGHTS

       13. My opinions are based upon the information and data presently available to me. I

reserve the right to amend or modify my opinions if additional, different or updated information

becomes available.



                                       VERIFICATION

This report was executed at Boston, Massachusetts, this 24th day of January, 2022.



                                                 ________________________________

                                                                Colin B. Weir




                                                                            ECONOMICS AND
                                                                           TECHNOLOGY ,            INC.
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                          Exhibit 1

             Statement of Qualifications
                         of

                     COLIN B. WEIR
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                                    Statement of Qualifications

                                           COLIN B. WEIR



   Colin B. Weir is Vice President at Economics and Technology, Inc. Mr. Weir conducts
economic, statistical, and regulatory research and analysis, and testifies as an expert witness. Mr.
Weir's work involves econometric and statistical analysis, multiple regression, surveys, statistical
sampling, micro- and macroeconomic modeling, accounting and other economic analysis. Such
analysis often involves analysis of databases, call detail records, and other voluminous business
records. Mr. Weir is familiar with common statistical and econometric software packages such as
STATA and Sawtooth Software. Mr. Weir assists with analysis of economic, statistical and other
evidence; and preparation for depositions, trial and oral examinations. Mr. Weir has provided expert
testimony before federal and state courts, the FCC, and state regulatory commissions, and has
contributed research and analysis to numerous ETI publications and testimony at the state, federal,
and international levels. Prior to joining ETI, Mr. Weir worked at Stop and Shop Supermarkets as a
cash department head, grocery/receiving clerk, and price-file maintenance head.

   Mr. Weir's experience includes work on a variety of issues, including: economic harm and
damage calculation; liquidated damages provisions; lost profits; false claims; diminution in value;
merger/antitrust analysis; Early Termination Fees (ETFs); Late Fees; determination of Federal
Excise Tax burden; and development of macroeconomic analyses quantifying the economic impact
of corporate actions upon the US economy and job markets.

   Mr. Weir has conducted research and analysis in numerous litigation and regulatory matters on
behalf of corporate, government and individual clients, including AT&T, MTS Allstream (Canada),
The US Department of Justice, Office of the Attorney General of Illinois, Pennsylvania Department
of Revenue, Thomas v. Global Vision, (class action litigation, Superior Court, County of Alameda),
Ayyad v. Sprint (class action litigation, Superior Court, County of Alameda), Forcellati v. Hylands
(class action, U.S. District Court, Central District of California), and Ebin v. Kangadis Foods (class
action, U.S. District Court, Southern District of New York).

   Mr. Weir holds an MBA with honors from Northeastern University. He also holds a Bachelor of
Arts degree cum laude in Business Economics from The College of Wooster.

   Mr. Weir is a member of the Boston Economic Club, a business member of the Boston Bar
Association, serves on the Board of Trustees of the Waring School, and serves as the comptroller for
the Sybaris Investment Partnership.




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                                                  1                        TECHNOLOGY , INC.
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                          Statement of Qualifications – Colin B. Weir


  Publications and Testimony of Colin B. Weir

  Mr. Weir has co-authored the following:

Interoperability and Spectrum Efficiency: Achieving a Competitive Outcome in the US Wireless
Market (with Lee L. Selwyn) Economics and Technology, Inc., prepared on behalf of United States
Cellular Corporation, July 2012.

The Price Cap LECs’ “Broadband Connectivity Plan”: Protecting Their Past, Hijacking the
Nation’s Future (with Lee L. Selwyn and Helen E. Golding) Economics and Technology, Inc.,
prepared on behalf of United States Cellular Corporation, September 2011.

Regulation, Investment and Jobs: How Regulation of Wholesale Markets Can Stimulate Private
Sector Broadband Investment and Create Jobs (with Lee L. Selwyn, Susan M. Gately, and Helen E.
Golding) Economics and Technology, Inc., prepared on behalf of Cbeyond, Inc., Covad
Communications Company, Integra Telecom, Inc., PAETEC Holding Corp, and tw telecom inc.,
February 2010.

Revisiting Us Broadband Policy: How Re-regulation of Wholesale Services Will Encourage
Investment and Stimulate Competition and Innovation in Enterprise Broadband Markets, (with Lee
L. Selwyn, Susan M. Gately, and Helen E. Golding) Economics and Technology, Inc., prepared on
behalf of MTS Allstream, February 2010.

Longstanding Regulatory Tools Confirm BOC Market Power: A Defense of ARMIS (with Lee L.
Selwyn, Susan M. Gately, and Helen E. Golding) Economics and Technology, Inc., prepared on
behalf of the AdHoc Telecommunications Users Committee, January 2010.

Choosing Broadband Competition over Unconstrained Incumbent Market Power: A Response to
Bell and TELUS (with Lee L. Selwyn, Susan M. Gately, and Helen E. Golding) Economics and
Technology, Inc., prepared on behalf of MTS Allstream, April 2009.

The Role of Regulation in a Competitive Telecom Environment: How Smart Regulation of Essential
Wholesale Facilities Stimulates Investment and Promotes Competition (with Lee L. Selwyn, Susan
M. Gately, and Helen E. Golding) Economics and Technology, Inc., prepared on behalf of MTS
Allstream, March 2009.

Special Access Overpricing and the US Economy: How Unchecked RBOC Market Power is Costing
US Jobs and Impairing US Competitiveness (with Lee L. Selwyn, Susan M. Gately, and Helen E.
Golding) Economics and Technology, Inc., prepared on behalf of the AdHoc Telecommunications
Users Committee, August 2007.

The AWS Spectrum Auction: A One-Time Opportunity to Introduce Real Competition for Wireless
Services in Canada (with Lee L. Selwyn and Helen E. Golding) Economics and Technology, Inc.,
prepared on behalf of MTS Allstream, June 2007.

Comparison of Wireless Service Price Levels in the US and Canada (with Lee L. Selwyn)
Economics and Technology, Inc., prepared on behalf of MTS Allstream, May 2007.
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                                                                         ECONOMICS AND
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Hold the Phone! Debunking the Myth of Intermodal Alternatives for Business Telecom Users In
New York (with Susan M. Gately and Lee L. Selwyn) Economics and Technology, Inc., prepared
for the UNE-L CLEC Coalition, August 2005.



   Mr. Weir has submitted the following testimony during the last four years:

Superior Court for the State of California, for the County of Alameda, Michelle Moran, an
individual on behalf of herself and all others similarly situated, v. S.C. Johnson & Son, Inc., Case
No.: RG20067897, on behalf of Clarkson Law Firm, P.C.; Declaration submitted on November 12,
2021.

United States District Court, Eastern District of Michigan, Chapman, et al., v. General Motors,
LLC, Case No. 2:19-cv-12333-TGB-DRG, on behalf of Hagens Berman Sobol Shapiro LLP,
Declaration submitted on November 10, 2021.

United States District Court, Central District of California, Terry Sonneveldt, Esther Wright
Schneider, Michael Bibbo, Alan Meshberg, Brian Hume, Amie Levasseur, Jean Levasseur,
Christopher Lacasse, Beth Pickerd, Dan Pickerd, Tim Halwas, Erin Matheny, Lewis Delvecchio,
Jon Sowards, Lawrence Bohana, Monika Bohana, David Dennis, Jacqueline S. Aslan, Michael
Gilreath, and Renatta Gilreath, individually and on behalf of all others similarly situated, v. Mazda
Motor of America, Inc. D/B/A Mazda North American Operations and Mazda Motor Corporation,
Case No.: 8:19-cv-01298-JLS-KES, on behalf of Kessler Topaz Meltzer & Check, LLP, Declaration
submitted on November 3, 2021.

United States District Court, Southern District of Texas, Corpus Christi Division, Tyler Allen
Click, Troy Bowen, Bailey Henderson, Ethan Galan, Luis G. Ochoa Cabrera, Homero Medina,
Michael Guidroz, Scott A. Hines, Bryan J. Tomlin, Quentin Alexander, and Jacqueline Bargstedt,
individually and on behalf of all others similarly situated, v. General Motors LLC, Case No. 2:18-
cv-00455-NGR, on behalf of Hagens Berman Sobol Shapiro LLP, Declaration submitted on
October 12, 2021.

In the Court of Claims, for the State of Ohio, Lawrence Keba, individually and on behalf of all
others similarly situated v. Bowling Green University, Case No. 2020-00639JD, on behalf of Bursor
& Fisher, P.A., Declaration submitted September 29, 2021; Reply Declaration submitted on
November 26, 2021.

In the Court of Claims, for the State of Ohio, Mackenzie Weiman and Sarah Baumgartner, on
behalf of themselves and all others similarly situated v. Miami University, Case Nos. 2020-00614JD
and 2020-00644JD, on behalf of Bursor & Fisher, P.A., Declaration submitted September 29, 2021;
Reply Declaration submitted on November 10, 2021.



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United States District Court, Southern District of New York, Eric Fishon and Alicia Pearlman,
individually and on behalf of all others similarly situated, v. Peloton Interactive, Inc., Case No.
1:19-cv-11711-LJL, on behalf of DiCello Levitt Gutzler and Keller Lenkner, Declaration submitted
September 15, 2021; Deposition on October 12, 2021; Reply Declaration submitted on November 1,
2021.

In the Court of Claims, for the State of Ohio, Caitlyn Waitt and Jordan Worrell v. Kent State
University, Case No. 2020-00392JD, on behalf of Bursor & Fisher, P.A., Declaration submitted
September 15, 2021; Reply Declaration submitted on November 11, 2021.

United States District Court, Northern District of California, Christopher Julian, Mark Pacana,
Paul Fiskratti, and Wayne Lewald, on behalf of themselves and all others similarly situated, v. TTE
Technology, Inc., dba TCL North America, Case No. 3:20-cv-02857-EMC, on behalf of Milberg
LLC, Declaration submitted on August 27, 2021; Deposition on October 2, 2021.

United States District Court for the Northern District of California, Sherris Minor, as an
individual, on beha1f of herself, the general public and those similarly situated, v. Baker Mills, Inc.;
and Kodiak Cakes, LLC, Case No. 20-cv-02901-RS, on behalf of Gutride Safier, LLP, Declaration
submitted August 2, 2021; Deposition on September 2, 2021; Reply Declaration submitted on
October 18, 2021.

In the Court of Claims, for the State of Ohio, Lily Zahn v. Ohio University, Case No. 2020-
00371JD, and Gila Duke, individually and on behalf of all others similarly situated, v. Ohio
University, Case No. 2021-00036JD, on behalf of Bursor & Fisher, P.A., Declaration submitted July
30, 2021; Deposition on October 6, 2021; Reply Declaration submitted on December 2, 2021; Oral
Testimony and Cross Examination on January 18, 2022.

In the Court of Claims, for the State of Ohio, Brooke Smith, individually and on behalf of all
others similarly situated, v. The Ohio State University, Case No. 2020-00321JD, on behalf of
Bursor & Fisher, P.A., Declaration submitted June 24, 2021; Deposition on August 26, 2021; Reply
Declaration submitted on September 29, 2021.

United States District Court, Eastern District of California, Felix Obertman, individually and on
behalf of all others similarly situated, v. Electrolux Home Products, Inc., Case No. 2:19-cv-02487-
KJM-AC, on behalf of Bursor & Fisher, P.A., Declaration submitted on June 14, 2021; Reply
Declaration submitted on November 18, 2021.

United States District Court, Central District of California, Delaney Sharpe, Erin Weiler, Jenna
Leder, and Adriana DiGennaro, on behalf of themselves and all others similarly situated, v. GT's
Living Foods, LLC, Case No. 2:19-cv-10920-FMO-GJS, on behalf of Bursor & Fisher, P.A.,
Declaration submitted on June 2, 2021; Deposition on June 30, 2021.




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United States District Court, Southern District of New York, In re: Elysium Health -
ChromaDex Litigation, Case No. 1:17-cv-07394-LJL, on behalf of Frankfurt Kurnit Klein & Selz
PC, Declaration submitted on April 20, 2021; Deposition, on April 26, 2021; Declaration submitted
on June 4, 2021.

United States District Court, Southern District of Texas, Corpus Christi Division, Darren
Fulton and Craig Jude Broussard, each plaintiff is a citizen of the State of Texas, and each plaintiff
individually and on behalf of all others similarly situated, v. Ford Motor Company, Case No.
2:18-cv-00456, on behalf of Hagens Berman Sobol Shapiro LLP, Declaration submitted on
March 15, 2021; Deposition on April 16, 2021; Reply Declaration submitted on July 21, 2021.

United States District Court, Southern District of California, Michael Testone, Collin Shanks,
and Lamartine Pierre, on behalf of themselves, all others similarly situated, and the general
public,v. Barlean's Organic Oils, LLC, Case No. 3:19-cv-00169-JLS-BGS, on behalf of Law
Offices of Jack Fitzgerald, Declaration submitted on March 1, 2021; Reply Declaration submitted
on May 27, 2021.

In The United States District Court, For the District of New Hampshire, Derick Ortiz,
individually and on behalf of all others similarly situated, v. Sig Sauer, Inc., Case No.: 1:19-cv-
01025-JL, on behalf of Bursor & Fisher, P.A., Declaration submitted on February 26, 2021;
Rebuttal Declaration submitted on July 28, 2021; Supplemental Declaration submitted on August 6,
2021; Declaration submitted on August 13, 2021.

United States District Court, Western District of Washington, Tamara Lohr and Ravikiran
Sindogi, on behalf of themselves and all others similarly situated, v. Nissan North America, Inc.,
and Nissan Motor Co., LTD., Case No.: 2:16-cv-01023-RSM and United States District Court,
Northern District of California, San Francisco Division, Sherida Johnson, Subrina Seenarain, Chad
Loury, Linda Spry, Lisa Sullivan, and April Ahrens on behalf of themselves and all others similarly
situated, v. Nissan North America, Inc., Case No.: 3:17-cv-00517-WHO, on behalf of Simmons
Hanly Conroy LLC; Declaration submitted on February 16, 2021; Deposition on May 5, 2021;
Reply Declaration submitted on August 13, 2021.

Superior Court of the State of California, County of Alameda, Donna Connary, Zoriana
Pawluk-Florio, Adrienne Andry, and Paul Terrecillas, on behalf of themselves and all others
similarly situated, v. S.C. Johnson & Son, Inc., Case No. RG20061675, on behalf of Feinstein
Doyle Payne & Kravec, LLC; Declaration submitted on February 16, 2021.

United States District Court, Western District of New York, In re: Rock 'N Play Sleeper
Marketing, Sales Practices, and Products Liability Litigation, Case MDL No. 1:19-md-2903, on
behalf of Beasley Allen Law Firm, Declaration submitted on February 8, 2021; Deposition on
March 11, 2021; Brief Reply Declaration submitted on September 24, 2021; Oral Testimony and
Cross Examination on September 27, 2021; Reply Declaration submitted on October 13, 2021.


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                             Statement of Qualifications – Colin B. Weir


Superior Court for The State of California, County of Los Angeles, Daniel Prescod,
individually and on behalf of all others similarly situated, v. Celsius Holdings, Inc. and Does 1
through 10, inclusive, Case No. 19STCV09321, on behalf of Clarkson Law Firm, P.C.; Declaration
submitted on December 23, 2020; Deposition on April 14, 2021; Reply Declaration submitted on
July 1, 2021.

United States District Court, Central District of California, Sharon Willis, individually and on
behalf of all others similarly situated, v. Colgate-Palmolive Co., Case No. 2:19-cv-08542-JGB-
RAOx, on behalf of Bursor & Fisher, P.A.; Declaration submitted on December 17, 2020;
Deposition on March 30, 2021; Reply Declaration submitted on July 15, 2021.

United States District Court, Northern District of California, Gordon Noboru Yamagata, and
Stamatis F. Pelardis, individually and on behalf of all others similarly situated, v. Reckitt Benckiser
LLC, Case No. 3:17-cv-03529-VC, on behalf of Blood, Hurst, & O'Reardon, LLP, Expert Report
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others similarly situated, v. The United States of America, Case No. 15-1575C, on behalf of
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United States District Court, for the Southern District of Ohio, Western Division, Laura
Bechtel and Troy Thoennes, on behalf of themselves and all others similarly situated, v. Fitness
Equipment Services, LLC, dba SOLE Fitness, Case No. 1:19-cv-00726-MRB, on behalf of
Markovits, Stock & DeMarco, LLC, Declaration submitted on December 2, 2020; Reply
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himself and all others similarly situated, v. Rite Aid Corporation, Case No. 4:18-cv-06926-YGR, on
behalf of Greg Coleman Law, Declaration submitted October 19, 2020; Deposition on
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United States District Court, Northern District of California, Jeremiah Revitch, individually and
on behalf of all others similarly situated, v. New Moosejaw, LLC and Navistone, Inc., Case No.
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United States District Court, Southern District of Florida, Javier Cardenas, Rodney and Pamela
Baker, Michelle Monge, and Kurt Kirton, individually and on behalf of all others similarly situated,
v. Toyota Motor Corporation, Toyota Motor Sales, U.S.A., Inc., Toyota Motor Engineering &
Manufacturing North America, Inc., and Southeast Toyota Distributors, LLC, Case No.: 18-cv-
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September 17, 2020; Declaration submitted on October 20, 2020; Deposition on November 12,
2020; Rebuttal Declaration submitted on November 24, 2020; Supplemental Declaration submitted
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United States District Court, Northern District of California, Ralph Milan, Sarah Aquino, and
Elizabeth Arnold, on behalf of themselves, those similarly situated and the general public, v. Clif
Bar & Company, Case No. 3:18-CV-02354-JD, on behalf of Law Office of Paul K. Joseph, PC,
Declaration submitted on September 17, 2020; Deposition on October 23, 2020; Reply Declaration
submitted on November 27, 2020; Declaration submitted on March 2, 2021; Declaration submitted
on April 9, 2021; Deposition on May 7, 2021.

Superior Court of The State of California, County of Orange, William Brady, on behalf of
himself and all others similarly situated, v. Bayer AG; Bayer Corporation; Bayer Healthcare LLC;
and Does 1 through 10, inclusive, Case No. 0-2016-00839608-CU-MC-CXC, on behalf of Wolf
Haldenstein Adler Freeman & Herz LLP, Declaration submitted on September 9, 2020; Deposition
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Nutritionals, LLC, Case No. 1:19-cv-03852-AJN-DCF, on behalf of Bursor & Fisher P.A.,
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United States District Court, Northern District of California, San Francisco Division, Daniel
Zeiger, Individually, and on Behalf of All Others Similarly Situated, v. Wellpet LLC, A Delaware
Corporation, Case No. 3:17-CV-04056-WHO, on behalf of Gustafson Gluek PLLC, Declaration
submitted on June 29, 2020.

United States District Court, Central District of California, Western Division, Roberta Bilbrey,
Jimmy Banh, Lawrence Goldman, Mark Peoples, Jamal Samaha, George Quinlan, Kara Drath,
Gary Hanna, Sarah Gravlin, Caitlin Kremer, Cindy Ortiz, Alexis Chisari, Robert Moss, Michael
Brumer, Dave Jahsman, John Bartholomew, Vimal Lawrence, Kayce Kleehamer, Mark Klein, Brian
Klein, Charles Denaro, Adam Pryor, Srikarthik Subbarao, Daniel Allan, Paul Gonzales, Eric
Faden, Hamilton Hines, And Kristen Gratton, on behalf of themselves and all others similarly
situated, v. American Honda Motor Co., Inc., a California Corporation, Case No.: 2:19-cv-05984
RGK (ASx), on behalf of Hagens Berman Sobol Shapiro LLP, Declaration submitted on
April 9, 2020; Reply Declaration submitted on May 18, 2020; Deposition on June 12, 2020;
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United States District Court, Central District of California, Will Kaupelis and Frank Ortega,
individually and on behalf of all others similarly situated, v. Harbor Freight Tools, Inc., Case No.
8:19-cv-1203-JVS-DFM, on behalf of Bursor & Fisher, P.A., Declaration submitted on
March 2, 2020; Deposition on May 28, 2020; Reply Declaration submitted on September 8, 2020.

Superior Court of the State of California, County of Los Angeles, Jeffrey Koenig, on behalf of
himself and all others similarly situated, v. Vizio, Inc., Case No. BC 702266, on behalf of Greg
Coleman Law, Declaration submitted February 27, 2020; Deposition on April 30, 2020; Reply
Declaration submitted on July 13, 2020; Declaration submitted on August 31, 2021; Deposition on
October 15, 2021.

United States District Court, Northern District of California, San Francisco Division, Kym
Pardini and Carrie Wood, on behalf of themselves and all others similarly situated, v. Unilever
United States, Inc., a Delaware corporation, Case No. 3:13-cv-01675-SC, on behalf of the Eureka
Law Firm, Declaration submitted on February 21, 2020.

United States District Court, Northern District of California, San Francisco Division, Jennifer
Nemet, Norbert Kahlert, Angela Matt Architect, Inc., Eddie Field, Tonya Dreher, Adam Schell,
Bryan Sheffield, Darryl Lecours, Gisbel De La Cruz, Derek Winebaugh, Michael Skena, Melissa St.
Croix, Andrew Olson, John Kubala, Brendan Daly, Steven Ferdinand, Ken Galluccio, Steven
Rawczak, Mark Miller, Sven Hofmann, Thomas Siehl, III, Adam Schell, Bradley Conner, Benjamin
Tyler Dunn, Ingrid Salgado, Michael Bowman, and Jon Mosley, on behalf of themselves and all
others similarly situated, v. Volkswagen Group of America, Inc., Volkswagen AG, Audi AG, Audi of
America, LLC, Robert Bosch Gmbh, Robert Bosch LLC, Richard Dorenkamp, Heinz-Jakob Neusser,
Jens Hadler, Bernd Gottweis, Oliver Schmidt, and Jurgen Peter, Case No. 3:17-cv-04372-CRB, on
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Declaration submitted on April 30, 2020; Deposition on July 22, 2020.

United States District Court, Norther District of California, San Francisco Division, Vicky
Maldonado and Justin Carter, individually and on behalf of themselves and all others similarly
situated, v. Apple Inc., Applecare Service Company, Inc., and Apple CSC, Inc., Case No. 3:16-cv-
04067-WHO, on behalf of Hagens Berman Sobol Shapiro LLP, Declaration submitted on
February 11, 2020; Deposition on March 12, 2020; Supplemental Declaration submitted on
September 14, 2020; Deposition on November 17, 2020.

United States District Court, District of New Jersey, Brian Gozdenovich, on behalf of himself
and all others similarly situated, v. AARP, Inc., AARP Services Inc., AARP Insurance Plan,
Unitedhealth Group, Inc., and Unitedhealthcare Insurance Company, Case No. 9:18-cv-81258-
DMM, on behalf of Bursor & Fisher, P.A., Declaration submitted on January 29, 2020; Declaration
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United States District Court, for the Central District of California, Western Division, Toya
Edwards, on behalf of herself and all others similarly situated, v. Walmart Inc., Case No. 1:18-cv-
9655, on behalf of Simmons Hanly Conroy LLC, Declaration submitted on December 6, 2019;
Deposition on January 9, 2020; Reply Declaration submitted on February 27, 2020; Reply
Declaration submitted on June 28, 2021.

United States District Court, District Of Connecticut, William Montgomery and Donald Wood
Jr., individually and on behalf of all others similarly situated, v. Stanley Black & Decker, Inc., d/b/a
Craftsman, Case No. 3:19-cv-01182-AVC, on behalf of Bursor & Fisher, P.A., Declaration
submitted on October 15, 2019.

United States District Court, Central District of California, Paul Stockinger, Elizabeth
Stockinger, Basudeb Dey, Gailyn Kennedy, Eliezer Casper, Yvette Alley, and Norman Beil on behalf
of themselves and all others similarly situated, v. Toyota Motor Sales, U.S.A., Inc., a California
corporation, Case No.: 17-cv-00035-VAP-KS, on behalf of Kessler Topaz Meltzer & Check, LLP,
Declaration submitted on September 13, 2019; Deposition on October 10, 2019; Reply Declaration
submitted on December 12, 2019.

United States District Court, Southern District of California, Patrick McMorrow, Marco Ohlin
and Melody DiGregorio, on behalf of themselves, all others similarly situated and the general
public, v. Mondelez International, Inc., Case No. 3:17-cv-02327-BAS-JLB, on behalf of Law
Offices of Jack Fitzgerald, Declaration submitted on August 30, 2019; Deposition on
October 1, 2019; Omnibus Declaration submitted on December 9, 2019; Declaration submitted on
May 4, 2020; Omnibus Declaration submitted on August 28, 2020; Declaration submitted on
May 14, 2021; Rebuttal Declaration submitted on July 2, 2021.

United States District Court for the Eastern District of Wisconsin, Scott Weaver, individually
and on behalf of a class of similarly situated individuals, v. Champion Petfoods USA, Inc. and
Champion Petfoods LP, Case No. 2:18-cv-01996-JPS, on behalf of Gustafson Gluek PLLC,
Declaration submitted on August 13, 2019; Deposition on August 22, 2019.

United States District Court, Central District of California, Collin Shanks, on behalf of himself,
all others similarly situated, and the general public, v. Jarrow Formulas Inc., Case No. 18-cv-9437-
PA (AFMx), on behalf of Law Offices of Jack Fitzgerald, Declaration submitted on July 22, 2019;
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United States District Court, Eastern District Of Michigan, Southern Division, Suresh Persad,
Daniel G. Wright and Robert S. Drummond, individually and on behalf of all others similarly
situated, v. Ford Motor Company, Case No. 2:17-cv-12599-TGB-MKM, on behalf of Kessler
Topaz Meltzer & Check, LLP, Declaration submitted on June 25, 2019; Declaration submitted on
November 26, 2019.




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United States District Court, Southern District of Florida, Fort Lauderdale Division, Milita
Barbara Dolan, on behalf of herself and all others similarly situated, v. Jetblue Airways
Corporation, CASE NO.: 18-cv-62193-RNS, on behalf of Robbins Geller Rudman & Dowd, LLP,
Declaration submitted on May 23, 2019; Deposition on October 25, 2019.

United States District Court, Northern District of California, Joseph Gregorio, Patrick Quiroz
and Adam Cooper individually and on behalf of all others similarly situated, v. The Clorox
Company, Case 4:17-cv-03824-PJH, on behalf of Bursor & Fisher, P.A., Declaration submitted on
May 15, 2019; Declaration submitted July 12, 2019; Deposition on July 18, 2019; Reply
Declaration submitted on August 21, 2019.

United States District Court, District of Minnesota, Hudock, et al., v. LG Electronics U.S.A.,
Inc., et al., Lead Case No. 0:16-CV-01220-JRT-KMM, Relating to All Consolidated Actions, on
behalf of Zimmerman Reed, LLP, Declaration submitted on May 10, 2019; Deposition on
June 6, 2019.

United States District Court, Central District of California, Western Division, Jennifer Reitman
and Carol Shoaff, individually and on behalf of a class of similarly situated individuals, v.
Champion Petfoods USA, Inc. and Champion Petfoods LP, Case: 2:18-cv-01736-DOC-JPR, on
behalf of Gustafson Gluek PLLC, Declaration submitted on April 8, 2019, Deposition on
April, 26, 2019; Supplemental Declaration submitted on June 20, 2019.

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Braverman, et al., v. BMW of North America, LLC, et al., Case No. 8:16-cv-00966-TJH-SS, on
behalf of Hagens Berman Sobol Shapiro LLP, Declaration submitted on March 29, 2019;
Deposition on May 30, 2019; Reply Declaration submitted on September 16, 2019; Supplemental
Declaration submitted on July 6, 2020.

United States District Court, Southern District of Florida, West Palm Beach Division, Judith
Marilyn Donoff on behalf of herself and all others similarly situated, v. Delta Air Lines, Inc., Case
No. 9:18-cv-81258-DMM, on behalf of Robbins Geller Rudman & Dowd, LLP, Declaration
submitted on March 26, 2019.

United States District Court, Western District of Washington, Jacob Beaty and Jessica Beaty
on, behalf of themselves and all others similarly situated, v. Ford Motor America, Case No. 3:17-
CV-05201-RBL, on behalf of Simmons Hanly Conroy LLC; Declaration submitted on
February 22, 2019; Deposition on March 29, 2019; Reply Declaration submitted on July 10, 2019;
Deposition on July 30, 2019.

United States District Court, Southern District of New York, Nicholas Parker, on behalf of
himself and all others similarly situated, v. United Industries Corporation, Case No. 1:17-cv-05353,
on behalf of Bursor & Fisher, P.A., Declaration submitted February 3, 2019; Declaration submitted
March 21, 2019; Declaration submitted on May 3, 2019; Deposition on July 24, 2019.

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United States District Court, Northern District of California, Debbie Krommenhock and
Stephen Hadley, on behalf of themselves, all others similarly situated, and the general public, v.
Post Foods, LLC, Case No. 3:16-cv-04958-WHO (JSC), on behalf of Law Offices of Jack
Fitzgerald, PC, Declaration submitted January 11, 2019; Deposition on March 1, 2019; Declaration
on April 24, 2019; Deposition on May 14, 2019; Supplemental Declaration submitted on
June 21, 2019; Omnibus Declaration submitted on August 9, 2019; Supplemental Declaration
submitted on November 16, 2020; Declaration submitted on January 18, 2021.

United States District Court, Southern District of New York, Leona Hunter and Anne Marie
Villa, on behalf of themselves and all others similarly situated, v. Time Warner Cable Inc., Case No.
15-cv-06445-JPO (JLC), on behalf of Bursor & Fisher, P.A. Declaration submitted on November
30, 2018; Deposition on December 21, 2018; Reply Declaration submitted on February 27, 2019.

United States District Court, Northern District of California, Jeremiah Revitch, on Behalf of
Himself and all Others Similarly Situated, v. Citibank, N.A., Case No. 17-cv-06907-JCS, on behalf
of Bursor & Fisher, P.A. Declaration submitted on November 27, 2018; Deposition on
December 28, 2018; Reply Declaration submitted on February 1, 2019; Deposition on
February 26, 2019.

United States District Court, Central District of California, Kaylee Browning and Sarah Basile,
on behalf of themselves and all others similarly situated, v. Unilever United States Inc., Case No.
8:16-cv-02210, on behalf of Bursor & Fisher, P.A., Declaration submitted on October 22, 2018;
Deposition on November 1, 2018; Reply Declaration submitted on November 23, 2018.

United States District Court, Southern District of New York, Lori Canale, individually, and on
behalf of all others similarly situated, v. Colgate-Palmolive Co., Case No. 7:16-CV-03308-CS, on
behalf of Bursor & Fisher, P.A., Declaration submitted on September 19, 2018.

Superior Court for the State of California, In and for the County of San Francisco, Michelle
Gyorke-Takatri and Katie Silver on behalf of themselves and all others similarly situated, v. Nestlé
USA, Inc. and Gerber Products Company, Case No. CGC 15-546850, on behalf of Stanley Law
Group, Declaration submitted on September 7, 2018.

Superior Court of the State of California, For The County of San Francisco, Deanna Gastelum
and Heather Bryden individually and on behalf of all other persons similarly situated, v. Frontier
California Inc., Case No. CGC-11-511467, on behalf of Bramson, Plutzik, Mahler and Birkhaeuser;
Declaration submitted on July 31, 2018, Declaration submitted August 13, 2018.

United States District Court, For the Southern District of New York, Suzanna Bowling,
individually and on behalf of all others similarly situated, v. Johnson & Johnson and McNeil
Nutritionals, LLC, Case No. 1:17-cv-03982-AJN, on behalf of Bursor & Fisher, P.A., Declaration
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November 16, 2018.

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United States District Court, Southern District of New York, Anne De Lacour, Andrea Wright,
and Loree Moran individually and on behalf of all others similarly situated, v. Colgate-Palmolive
Co., and Tom's of Maine Inc., Case No. 1:16-cv-08364-RA, on behalf of Bursor & Fisher, P.A.,
Declaration submitted on June 15, 2018; Deposition on August 28, 2018; Reply Declaration
submitted on November 21, 2018; Declaration submitted on February 21, 2020; Reply Declaration
submitted April 9, 2020.

United States District Court, Northern District of California, San Francisco Division, In re:
Chrysler-Dodge-Jeep EcoDiesel® Marketing, Sales Practices, and Products Liability Litigation
Dorun Bali, et al., v. Fiat Chrysler Automobiles N.V., FCA US LLC, Sergio Marchionne, VM
Motori S.p.A., VM North America, Inc., Robert Bosch GmbH, Robert Bosch LLC, and Volkmar
Denner, Case No. MDL 2777-EMC, on behalf of Lieff Cabraser Heimann & Bernstein, Declaration
submitted on June 6, 2018, Deposition on July 18, 2018, Reply Declaration submitted on
September 4, 2018.

United States District Court, Northern District of California, Stephen Hadley, on behalf of
himself, all others similarly situated, and the general public, v. Kellogg Sales Company, Case No.
5:16-cv-04955-LHK-HRL, on behalf of Law Offices of Jack Fitzgerald, PC, Declaration submitted
April 30, 2018, Deposition on May 31, 2018; Reply Declaration submitted June 25, 2018;
Declaration submitted on September 20, 2018; Deposition on September 28, 2018; Declaration
submitted on October 21, 2019; Declaration submitted on July 16, 2020; Declaration submitted on
March 10, 2021.

United States District Court, Northern District of Illinois, Eastern Division, Teresa Elward,
Dennis Keesler, Leasa Brittenham, Kathy Beck and Nathaniel Beck, Angelia East, Sarah LaVergne,
Tony And Lauren Fitzgerald, Gregory Gray, Bethany Williams, John McLaughlin, Stacy Cisco, and
William Ferguson and Cheryl Ferguson, individually and on behalf of all others similarly situated,
v. Electrolux Home Products, Inc., Case No. 1:15-cv-09882-JZL, on behalf of Greg Coleman Law,
Declaration submitted April 20, 2018; Reply Declaration submitted on July 13, 2018; Deposition on
August 17, 2018.

United States District Court for the Northern District of California, Jackie Fitzhenry-Russell,
an individual, on behalf of herself, the general public and those similarly situated v. The Coca Cola
Company, and Does 1-50, Case No. 5:17-CV-00603-EJD, on behalf of Gutride Safier, LLP,
Declaration submitted April 16, 2018; Deposition on October 3, 2018.

United States District Court for the Southern District of New York, Josephine James Edwards,
individually and on behalf of all others similarly situated, v. Hearst Communications, Inc., Case
No. 15-cv-09279-AT, on behalf of Bursor & Fisher, P.A., Declaration submitted April 16, 2018;
Deposition on June 7, 2018.




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United States District Court, Northern District of California, Jackie Fitzhenry-Russell, Robin
Dale, and Gegham Margaryan, as individuals, on behalf of themselves, the general public and
those similarly situated, v. Dr. Pepper Snapple Group, Inc., Dr Pepper/Seven Up, Inc., and Does
1-50, Case No. 5:17-cv-00564-NC (lead); Case No. 5:17-cv-02341-NC (consolidated); Case No.
5:17-cv-04435-NC (consolidated), on behalf of Gutride Safier, LLP, Declaration submitted
April 9, 2018; Deposition on April 19, 2018; Reply Declaration submitted June 6, 2018;
Supplemental Declaration submitted on November 19, 2018.

United States District Court for the Western District of Texas, Austin Division, Sylvia Morris,
on behalf of herself and all others similarly situated, v. Modernize Inc., Case No. 17:-cv-963-SS, on
behalf of Bursor & Fisher, P.A., Declaration submitted March 13, 2018; Deposition on
June 14, 2018.

United States District Court, Northern District of California, San Jose Division, In re: Arris
Cable Modem Consumer Litigation, Case No. 17-cv-1834-LHK, on behalf of Schubert Jonckheer &
Kolbe, Declaration submitted on March 9, 2018; Reply Declaration submitted April 9, 2018;
Deposition on April 11, 2018; Declaration submitted June 13, 2018; Declaration submitted
January 31, 2019; Deposition on February 14, 2019; Reply Declaration submitted on
March 14, 2019.

United States District Court, Southern District of New York, In re: Amla Litigation, Case No.
1:16-cv-06593-JSR, on behalf of Levi & Korsinsky LLP, Declaration submitted on March 5, 2018;
Declaration submitted November 14, 2018; Deposition on November 28, 2018.

United States District Court, Eastern District of Michigan, Toby Schechner, Barbara Barnes,
Laura Bliss, Kathleen Jordan, Kathryn Limpede, Louise Miljenovic, Candace Oliarny, Beverly
Simmons, Richard Thome And Mary Ellen Thome, v. Whirlpool Corporation, Case No. 16-cv-
12409-SJM, on behalf of Robbins Geller Rudman & Dowd, LLP, Declaration submitted
February 12, 2018; Deposition on May 15, 2018; Reply Declaration submitted May 17, 2018.

United States District Court, Southern District of California, Jose Conde, et al., v. Sensa, et al.,
Case No. 14-cv-51 JLS (WVG), on behalf of Bursor & Fisher, P.A., Declaration submitted
February 6, 2018; Declaration submitted February 21, 2019.

United States District Court, Northern District Of Illinois, Eastern Division, Angel Bakov, Julie
Herrera, and Kinaya Hewlett, individually and on behalf of all others similarly situated, v.
Consolidated World Travel, Inc. d/b/a Holiday Cruise Line, a Florida corporation, Case No. 15-cv-
02980-HDL SEC, on behalf of Bursor & Fisher, P.A., Declaration submitted February 6, 2018;
Deposition on April 25, 2018.




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United States District Court, Northern District of Illinois, Jennifer Beardsall, Daniel Brown,
Jennifer Carlsson, Deborah Cartnick, Amy Connor-Slaybaugh, Phyllis Czapski, Raelee Dallacqua,
Autumn Dean, Skye Doucette, Christopher Draus, Gerald Gordon, Alexandra Groffsky, Emma
Groffsky, Joyce Ivy, La Tanya James, Michelle Jessop, Joy Judge, Kathy Mellody, Susan Nazari,
Megan Norsworthy, Deborah Ostrander, Martina Osley, Dana Phillips, Thomas Ramon, Jr., Nancy
Reeves, Matthew Robertson, Shelley Waitzman, Jamilla Wang, and Amber Wimberly, Individually
and on Behalf of All Others Similarly Situated, v. CVS Pharmacy, Inc., Target Corporation,
Walgreen Co., Wal-Mart Stores, Inc., and Fruit of the Earth, Inc., Case No. 1:16-cv-06103, on
behalf of Greg Coleman Law, Reply Declaration on May 4, 2018.

United States District Court, Southern District of Ohio, Tom Kondash, on behalf of
himself and all others similarly situated, v. Kia Motors America, Inc., and Kia Motors Corporation,
Case No. 1:15-cv-00506-SJD, on behalf of Gibbs Law Group, LLP, Supplemental Declaration
submitted on September 23, 2019.

United States District Court, Northern District of Illinois, Eastern Division, Ryan Porter and
Haarin Kwon, individually and on behalf of all others similarly situated, v. NBTY, Inc., United
States Nutrition Inc., Healthwatchers (DE), Inc., and MET-RX Nutrition, Inc., Case No. 15-cv-
11459, on behalf of Bursor & Fisher, P.A., Declaration submitted on August 15, 2018; Deposition
on October 12, 2018; Reply Declaration on December 21, 2018.

United States District Court, Northern District of California, Sandra McMillion, Jessica
Adekoya and Ignacio Perez, on Behalf of Themselves and all Others Similarly Situated, v. Rash
Curtis & Associates, Case No. 16-cv-03396-YGR, on behalf of Bursor & Fisher, P.A., Declaration
submitted on August 10, 2018; Declaration submitted on November 6, 2018; Declaration submitted
on November 12, 2018; Deposition on December 11, 2018; Oral Testimony and Cross Examination
May 7 - 8, 2019.

United States District Court, Southern District of California, Preston Jones and Shirin Delalat,
on behalf of themselves, all others similarly situated, and the general public, v. Nutiva Inc., Case
No. 16-cv-00711 HSG, on behalf of Law Offices of Jack Fitzgerald, PC, Reply Declaration
submitted March 2, 2018.

United States District Court, Central District of California, Southern Division, Billy Glenn,
Kathy Warburton, Kim Fama, and Corinne Kane, on behalf of themselves and all others similarly
situated, v. Hyundai Motor America And Hyundai Motor Company, Case No. 15-cv-02052-DOC-
KES, on behalf of Gibbs Law Group, LLP, Declaration submitted on March 23, 2018.

United States District Court, Southern District Of New York, Joanne Hart, and Sandra Bueno,
on behalf of themselves and all others similarly situated, v. BHH, LLC d/b/a Bell + Howell and Van
Hauser LLC, Case No. 1:15-cv-04804-WHP, on behalf of Bursor & Fisher, P.A., Supplemental
Declaration submitted January 30, 2018; Declaration submitted on March 2, 2018; Supplemental
Declaration submitted on March 30, 2018; Supplemental Declaration submitted on November 26,
2018; Deposition on December 20, 2018.
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United States District Court, Eastern District Of New York, Brooklyn Division, Reply All
Corp., v. Gimlet Media, Inc., Case No. 15-cv-04950-WFK-PK, on behalf of Wolf, Greenfield &
Sacks, P.C., Declaration submitted on September 13, 2019; Deposition on October 16, 2019.

United States District Court, Southern District of New York, Walt Famular, on behalf of himself
and all others similarly situated, v. Whirlpool Corporation, Case No. 16-cv-00944, on behalf of
Bursor & Fisher, P.A., Rebuttal Declaration on March 20, 2018.

United States District Court, District of New Jersey, Charlene Dzielak, Shelley Baker, Francis
Angelone, Brian Maxwell, Jeffery Reid, Kari Parsons, Charles Beyer, Jonathan Cohen, Jennifer
Schramm, and Aspasia Christy on behalf of themselves and all others similarly situated, v.
Whirlpool Corporation, Lowe’s Home Center, Sears Holdings Corporation, The Home Depot, Inc.,
Fry’s Electronics, Inc., And Appliance Recycling Centers Of America, Inc., Case No.
12-cv-0089-KM-JBC, on behalf of Bursor & Fisher, P.A., Responding Declaration submitted July
6, 2018; Rebuttal Declaration submitted on August 10, 2018.

United States District Court, Eastern District of New York, D. Joseph Kurtz, individually and
on behalf all others similarly situated, v. Kimberly-Clark Corporation and Costco Corporation,
Case No. 14-01142-JBW, on behalf of Robbins Geller Rudman & Dowd LLP; Supplemental
Declaration submitted on July 9, 2019; Supplemental Declaration submitted on July 12, 2019; Oral
testimony and cross-examination on August 6-8 and 12, 2019.

United States District Court, Eastern District of New York, Anthony Belfiore, on behalf of
himself and all others similarly situated, v. Procter & Gamble, Case No. 14-04090-JBR, on behalf
of Wolf Popper LLP; Supplemental Declaration submitted on July 9, 2019; Deposition on July 26,
2019; Oral testimony and cross-examination on August 6-8 and 12, 2019.

United States District Court, Northern District of California, San Francisco Division, Erin
Allen, on behalf of herself and all others similarly situated, v. Con Agra Foods, Inc., Case No. 13-
cv-01279-VC, on behalf of Hagens Berman Sobol Shapiro LLP and The Eureka Law Firm;
Declaration submitted July 9, 2018; Deposition on March 7, 2019; Reply Declaration submitted on
May 22, 2019; Declaration submitted on February 28, 2020.

Mr. Weir has provided expert testimony since 2007, served as a consultative expert in numerous
proceedings that did not result in testimony, and has contributed research and analysis to numerous
additional publications and testimony at the state, federal, and international levels.




                                                15
                                                                           ECONOMICS AND
                                                                          TECHNOLOGY , INC.
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                          Exhibit 2

                 Documents Reviewed
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- First Amended Class Action Complaint in Fishon v. Premier Nutrition Corporation f/k/a Joint

Juice, Inc., No. 3:16-cv-06980-RS (N.D. Cal.) (ECF No. 92), dated April 21, 2021.

- Production from Costco Wholesale Corporation bates-stamped COSTCO_00001 in Caiazzo v.

Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06685-RS (N.D. Cal.).

- Production from Costco Wholesale Corporation bates-stamped COSTCO_00002 in Caiazzo v.

Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06685-RS (N.D. Cal.).

- James Howard production letter in Bland v. Premier Nutrition Corporation, No. 19-CV-00875-

RS (N.D. Cal.), dated September 19, 2019.

- Production from Costco Wholesale Corporation bates-stamped COSTCO_00001 in Bland v.

Premier Nutrition Corporation, No. 19-CV-00875-RS (N.D. Cal.).

- Production from Costco Wholesale Corporation bates-stamped COSTCO_00002 in Bland v.

Premier Nutrition Corporation, No. 19-CV-00875-RS (N.D. Cal.).

- Production from Costco Wholesale Corporation bates-stamped in Mullins v. Premier Nutrition

Corporation f/k/a Joint Juice, Inc., 3:13-cv-01271-RS (N.D. Cal.), produced April 10, 2015.

- Declaration of Carolynn Howsley produced in Mullins v. Premier Nutrition Corporation f/k/a

Joint Juice, Inc., 3:13-cv-01271-RS (N.D. Cal.), dated August 26, 2015.

- Defendant Premier Nutrition Corporation's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06685-RS (N.D. Cal.), dated January 25, 2019.

- Exhibit 1 to Defendant Premier Nutrition Corporation's Supplemental Responses to Plaintiffs'

First Set of Interrogatories in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc.,

No. 3:16-cv-06685-RS (N.D. Cal.), dated January 25, 2019.

- Exhibit 2 to Defendant Premier Nutrition Corporation's Supplemental Responses to Plaintiffs'

First Set of Interrogatories in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc.,

No. 3:16-cv-06685-RS (N.D. Cal.), dated January 25, 2019.

- Premier's Responses to Plaintiff's First Set of Interrogatories in Bland v. Premier Nutrition

Corporation, No. 19-CV-00875-RS (N.D. Cal.), dated June 20, 2019.
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- Exhibit 1 to Premier's Responses to Plaintiff's First Set of Interrogatories in Bland v. Premier

Nutrition Corporation, No. 19-CV-00875-RS (N.D. Cal.), dated June 20, 2019.

- Defendant Premier Nutrition Corporation's Second Set of Supplemental Responses to Plaintiffs'

First Set of Interrogatories in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc.,

No. 3:16-cv-06685-RS (N.D. Cal.), dated November 26, 2019.

- Exhibit 3 to Defendant Premier Nutrition Corporation's Second Set of Supplemental Responses

to Plaintiffs' First Set of Interrogatories in Caiazzo v. Premier Nutrition Corporation f/k/a Joint

Juice, Inc., No. 3:16-cv-06685-RS (N.D. Cal.), dated November 26, 2019.

- Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of Interrogatories in Fishon

v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06980-RS (N.D. Cal.),

dated December 29, 2021.

- Exhibit 4 to Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), dated December 29, 2021.

- Exhibit 5 to Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), dated December 29, 2021.

- Exhibit 6 to Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), dated December 29, 2021.

- Exhibit 7B to Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), produced January 20, 2022.

- Exhibit 7 to Premier Nutrition's Supplemental Responses to Plaintiffs' First Set of

Interrogatories in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), dated December 29, 2021.

- Production email from Leon Paz dated December 29, 2021.
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- Production from Walmart Inc. bates-stamped WM2019-004008C000033 through WM2019-

004008C000451in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-

06980-RS (N.D. Cal.), dated December 29, 2021.

- FileZilla SFTP Client Installation Instructions produced by Walmart Inc. in Fishon v. Premier

Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06980-RS (N.D. Cal.), produced

December 29, 2021.

- Field Summary excel worksheet produced by Walmart Inc. in Fishon v. Premier Nutrition

Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06980-RS (N.D. Cal.), produced December 29,

2021.

- File Summary excel worksheet produced by Walmart Inc. in Fishon v. Premier Nutrition

Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06980-RS (N.D. Cal.), produced December 29,

2021.

- Leon Paz Letter of Certificate of Authenticity dated December 29, 2021.

- Leon Paz Letter of Certificate of Authenticity dated January 9, 2022.

- Production from Walmart Inc. bates-stamped WM Matter 2019-004008C000001 through WM

Matter 2019-004008C000021 in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc.,

No. 3:16-cv-06685-RS (N.D. Cal.).

- Production from Walmart Inc. bates-stamped 2019-004008C000022 through WM Matter 2019-

004008C000032 in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No. 3:16-

cv-06685-RS (N.D. Cal.).

- Production from Walmart Inc. bates-stamped 2019-004008C0000452 through WM Matter

2019-004008C0000514 in Fishon v. Premier Nutrition Corporation f/k/a Joint Juice, Inc., No.

3:16-cv-06980-RS (N.D. Cal.).

- Declaration and Certificate of Authenticity by Ryan Ausbrooks in Bland v. Premier Nutrition

Corporation, No. 19-CV-00875-RS (N.D. Cal.), dated August 27, 2019.

- Kathleen Mullin production letter in Caiazzo v. Premier Nutrition Corporation f/k/a Joint

Juice, Inc., No. 3:16-cv-06685-RS (N.D. Cal.), dated October 31, 2019.
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- Production from Rite Aid bates-stamped RA_0001-RA_0029 in Caiazzo v. Premier Nutrition

Corporation f/k/a Joint Juice, Inc., No. 3:16-cv-06685-RS (N.D. Cal.), dated October 31, 2019.

- Declaration of Heather Leininger in Caiazzo v. Premier Nutrition Corporation f/k/a Joint Juice,

Inc., No. 3:16-cv-06685-RS (N.D. Cal.), dated November 30, 2019.
